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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                           CASE NO.: 3:03cr105/LAC
                                                   3:04cv461/LAC/MD
KENNETH KELLEY
_____________________________________________________________________
                                       ORDER
      Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on July 5, 2005, pursuant to 28 U.S.C. § 636(b)(1)(B), and after reviewing
objections to the Recommendation, if any, the Recommendation is adopted as the
opinion of the Court.
      Accordingly, it is ORDERED:
      The motion to vacate, set aside, or correct sentence (doc. 53) is DENIED.


      DONE AND ORDERED this 27th day of July, 2005.




                                       s/L.A. Collier
                                       LACEY A. COLLIER
                                       SENIOR UNITED STATES DISTRICT JUDGE
